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AO 91 (Rev. 11/Il) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                for the
                                                                                                        REC EIVED
                                                    Middle District of Alabama                      1015 APR I
                                                                                                                      b A II: j    j.

                  United States of America
                                V.                                                                DEBRA P.Hjf CLj
                                                                          Case No.
            KENNETH LAMAR HENDERSON
                                                                                                                      TRICT ALA




                          Dejèndant(s)


                                                CRIMINAL COMPLAINT

          1, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   April 13, 2015,              in the county of             Montgomery                 in the
        Middle         District of           Alabama           , the defendant(s) violated:

            Code Section                                                     Offense Description
18 USC 115(a)(1)(B)                              Threatening a federal official

18 USC 930(b)                                     Possession of firearm in federal facility




          This criminal complaint is based on these facts:
See Attached Affidavit.




           ( Continued on the attached sheet.



                                                                                              Complainant's signature

                                                                                      Jb
                                                                                               Printed nameidTtJe

Sworn to before me and signed in my presence.


Date:             04/16/2015
                                                                                                 .Judge's signature

City and state:                         Montgomery, AL                      CHAF        S. COODY, U.S. MAGISTRATE JUDGE
                                                                                               Printed name and title
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                                            AFFIDAVIT


        I, Eric Long, being duly sworn, state the following information to be true to the best of

my knowledge, information and belief:

                 I, Eric Long, being duly sworn, depose and state as follows: I am a Special

Agent with the Federal Protective Service, U.S. Department of Homeland Security, Threat

Management Branch, Criminal Investigations Section. 1 have been employed with the Federal

Protective Service for a period of 5 years and 9 months as a special agent. Prior to my

employment with the Federal Protective Service, I was employed with the U.S. Department of

Homeland Security, Customs and Border Protection as a Federal Officer for two years and with

the Department of Defense as a Federal Officer for two years. I have over nine years of service

as a sworn Federal Law Enforcement Officer.

       2.       1 am an "Investigative or Law Enforcement Officer" within the meaning of

Section 2510 (7) of Title 18, United States Code; that is, an officer of the United States who is

empowered by law to conduct investigations of, and to make arrests for, offenses enumerated in

Section 2516 of Title 18, United States Code.

        3.      The information in this affidavit is based upon, among other things, my training

and experience in conducting criminal investigations, my personal knowledge, interviews of

witnesses, my review of documents, public records, and other evidence, and conversations with

other law enforcement agents and officers with whom I work. I have not included every fact 1

have learned during the investigation, but only sufficient facts to establish probable cause. Where

statements of others are set forth in this affidavit, they set forth in substance and are not

verbatim.
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       4.      As further detailed below, it is my belief that probable cause exists that Kenneth

Lamar Henderson violated Title 18, United States Code, Section 1 15(a)(1)(B), threatening to kill

a federal employee.

       5.      On April 13, 2015, at approximately 10:40 am, Henderson contacted the Social

Security Administration (SSA) office located at 4334 Carmichael Road, Montgomery, Alabama,

to request an appointment. During the conversation between Henderson and SSA employee

W.P., Henderson said "This is Kenneth Motherfucking Henderson. I need my Goddamn money

right. You want to give me a damn phone appointment, because you do not want me to come to

that fucking office for an earlier appointment. Because if my money ain't right I'll kill you and

everyone in there. And then I will kill myself. I need my money right, because I am Kenneth

Motherfucking Henderson."

       6.      As further detailed below, it is my belief that probable cause exists that

Henderson violated Title 18, United States Code, Section 930(b) when, with the intent that a

dangerous weapon be used in the commission of a crime, knowingly possessed or caused to be

present a dangerous weapon in a federal facility.

       7.      On April 13, 2015, at approximately 2:00 pm, Henderson entered the

Montgomery SSA office. Within this office are conspicuously located signs that inform those

present that they are prohibited from carrying weapons within the office. Henderson, having

been identified in the SSA computer network as a possible threat to federal employees, was

brought to the attention of Federal Protective Service Inspector Dylan Newton. Inspector Newton

immediately went to the Montgomery SSA office and there made contact with Henderson.

During his encounter with Henderson, Inspector Newton discovered that Henderson had,

concealed in his waistband, a kitchen knife with a blade measuring approximately seven inches
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in length and one inch wide.

       8.       Based upon the foregoing, your affiant is of the opinion that there is probable

cause to believe that Kenneth Lamar Henderson violated Title 18, United States Code, Section

1 15(a)(1)(B), and Title 18, United States Code, Section 930(b).

       Further affiant sayeth not.




                                                      Eric Lon , SZial Agent
                                                      Federal Protective Service
                                                      U.S. Department of Homeland Security

Subscribed and swo         y me
on this 16th ofii 20



UniteTMagistrate Judge
